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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

TRAXCELL TECHNOLOGIES, LLC,   )
             Plaintiff,       )
                              )                                 Civil Action No. 6:22-cv-00991
v.                            )
                              )
                              )
T-MOBILE USA, INC., SPRINT    )
COMMUNICATIONS                )
COMPANY, LP, SPRINT           )
CORPORATION, SPRINT SPECTRUM, )
LP AND SPRINT SOLUTIONS, INC. )
ERICSSON, INC., NOKIA OF      )
AMERICA CORP.,                )                                 JURY TRIAL DEMANDED
NOKIA SOLUTIONS AND           )
NETWORKS OY, and SAMSUNG      )
ELECTRONICS AMERICA, INC.     )
                 Defendants.  )

         PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Traxcell Technologies, LLC (“Traxcell”) files this Original Complaint, 1 and demand for

jury trial seeking relief from patent infringement by T-Mobile USA, Inc. (“T-Mobile”); Sprint

Communications Company, L.P., Sprint Corporation, Sprint Spectrum, L.P. and Sprint Solutions,

Inc. (collectively “Sprint”); 2 Ericsson, Inc. (“Ericsson”); Nokia of America Corp. (“Nokia Corp.”);

Nokia Solutions and Networks Oy (“Nokia Finland”); and, Samsung Electronics America, Inc.

(“Samsung”) (collectively referred to as “Defendants”), alleging infringement of the claims of U.S.

Pat. No. 10,448,209 (“the ‘209 patent”); U.S. Pat. No. 10,390,175 (“the ‘175 patent”); and U.S.

Pat. No. 9,918,196 (“the ‘196 patent”) 3 (collectively referred to as “Patents-in-Suit”), as follows:

                                           I.         THE PARTIES


1
  The ‘209 patent, the ‘175 patent, and the ‘196 patent have prosecution history disclaimers for at least the claim
term computer.
2
  Sprint and T-Mobile merged beginning on April 29, 2018 and was approved April 1, 2020.
3
  Infringement of the claims of the ‘196 patent is only alleged against Sprint.

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   1.   Plaintiff Traxcell is a Texas Limited Liability Company, with its principal place of

business located at Traxcell Technologies LLC, 617 North 4th Street, Suite "S," Waco, TX 76701.

   2. T-Mobile Wireless is Delaware corporation with its principal place of business at One T-

Mobile Way, Basking Ridge, New Jersey and a registered agent for service of process at CT Corp

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136. On information and belief, T-

Mobile Wireless Personal Communications, LP sells and offers to sell products and services

throughout Texas, including in this judicial district, and introduces products and services that

perform infringing processes into the stream of commerce knowing that they would be sold in

Texas and this judicial district, including at 2448 W Loop 340 Suite 24a, Waco, TX 76711.

   3. Ericsson is a corporation, with its principal place of business located at 6300 Legacy Drive,

Plano, Texas 75024 and may be served with process at its registered agent Capitol Corporate

Services, Inc. 206 E. 9th Street, Suite 1300, Austin, Texas 78701. On information and belief,

Ericsson sells and offers to sell products and services throughout Texas, including in this judicial

district, and introduces products and services that perform infringing processes into the stream of

commerce knowing that they would be sold in Texas and this judicial district.

   4. Sprint Communications Company, LP was Delaware Corporation with its principal place

of business at 6200 Sprint Parkway, Overland Park, Kansas 66251 and a registered agent for

service at The Prentice-Hall Corporation System, 211 E. 7th Street, Suite 620, Austin, Texas 78701-

3218. On information and belief, Sprint Communications Company, LP sells and offers to sell

products and services throughout Texas, including in this judicial district, and introduces products

and services that perform infringing processes into the stream of commerce knowing that they

would be sold in Texas and this judicial district, including at 2448 W Loop 340 Suite 24a, Waco,

TX 76711.



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   5. Sprint Corporation was a Delaware Corporation with its principal place of business at 6200

Sprint Parkway, Overland Park, Kansas 66251 and a registered agent for service at Corporation

Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808. On information and

belief, Sprint Corporation sells and offers to sell products and services throughout Texas, including

in this judicial district, and introduces products and services that perform infringing processes into

the stream of commerce knowing that they would be sold in Texas and this judicial district,

including at 2448 W Loop 340 Suite 24a, Waco, TX 76711.

   6. Sprint Spectrum, LP was Delaware Corporation with its principal place of business at 6200

Sprint Parkway, Overland Park, Kansas 66251 and a registered agent for service at Corporation

System, 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218. On information and belief, Sprint

Spectrum, LP sells and offers to sell products and services throughout Texas, including in this

judicial district, and introduces products and services that perform infringing processes into the

stream of commerce knowing that they would be sold in Texas and this judicial district, including

at 2448 W Loop 340 Suite 24a, Waco, TX 76711.

   7. Sprint Solutions, Inc. was Delaware Corporation with its principal place of business at

6200 Sprint Parkway, Overland Park, Kansas 66251 and a registered agent for service at

Corporation System, 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218. On information and

belief, Sprint Solutions, Inc. sells and offers to sell products and services throughout Texas,

including in this judicial district, and introduces products and services that perform infringing

processes into the stream of commerce knowing that they would be sold in Texas and this judicial

district, including at 2448 W Loop 340 Suite 24a, Waco, TX 76711.

   8. Nokia Corp is a corporation organized and existing under the laws of Delaware, with a

principal places of business located at (1) 6000 Connection Drive, MD E4-400, Irving, TX 75039;



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(2) 601 Data Dr., Plano, TX 75075; and, (3) 2400 Dallas Pkwy., Plano, TX 75093, and a registered

agent for service of process at National Registered Agents, Inc, 16055 Space Center, Suite 235,

Houston, TX 77062. On information and belief, Nokia Corp. sells and offers to sell products and

services throughout Texas, including in this judicial district, and introduces products and services

that perform infringing processes into the stream of commerce knowing that they would be sold in

Texas and this judicial district, including at 10431 Morado Cir building 5 suite 200, Austin, TX

78759.

   9.    Nokia Finland is a is a corporation organized and existing under the laws of Finland, with

a principal place of business 6000 Connection Drive, MD E4-400, Irving, TX 75039 and a

registered agent for service of process at National Registered Agents, Inc, 16055 Space Center,

Suite 235, Houston, TX 77062. On information and belief, Nokia sells and offers to sell products

and services throughout Texas, including in this judicial district, and introduces products and

services that perform infringing processes into the stream of commerce knowing that they would

be sold in Texas and this judicial district, including at 10431 Morado Cir building 5 suite 200,

Austin, TX 78759. (Nokia Corp. and Nokia Finland are collectively referred to as “Nokia.”)

   10. Samsung is a corporation organized and existing under the laws of the state of New York,

maintains its principal place of business at 85 Challenger Road, Ridgefield Park, NJ 07660, and

has a registered agent for service of process at CT Corporation System, located at 1999 Bryan

Street. Suite 900, Dallas, TX 75201. On information and belief, Samsung America sells and offers

to sell products and services throughout Texas, including in this judicial district, and introduces

products and services that perform infringing processes into the stream of commerce knowing that

they would be sold in Texas and this judicial district, including at 3900 N Capital of Texas Hwy,

Austin, TX 78746.



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II.      JURISDICTION AND VENUE

      11. This is an action for patent infringement arising under the patent laws of the U.S., 35 U.S.C.

§§ 1 et. seq. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

      12. This Court has personal jurisdiction over T-Mobile because: T-Mobile is present within or

has minimum contacts within the State of Texas and this judicial district; T-Mobile has

purposefully availed itself of the privileges of conducting business in the State of Texas and in this

judicial district; T-Mobile regularly conducts business within the State of Texas and within this

judicial district; and Plaintiff’s cause of action arises directly from T-Mobile’s business contacts

and other activities in the State of Texas and in this judicial district.

      13. Venue is proper in this district under 28 U.S.C. § 1400(b). T-Mobile has committed acts

of infringement and has a regular and established place of business in this District.

      14. This Court has personal jurisdiction over Ericsson because: Ericsson is present within or

has minimum contacts within the State of Texas and this judicial district; Ericsson has purposefully

availed itself of the privileges of conducting business in the State of Texas and in this judicial

district; Ericsson regularly conducts business within the State of Texas and within this judicial

district; and Plaintiff’s cause of action arises directly from Ericsson’s business contacts and other

activities in the State of Texas and in this judicial district.

      15. Venue is proper in this district under 28 U.S.C. § 1400(b). Ericsson has committed acts of

infringement and has a regular and established place of business in this District, including at least

1703 W 5th St, Austin, TX 78703.

      16. This Court has personal jurisdiction over Sprint because: Sprint is present within or has

minimum contacts within the State of Texas and this judicial district; Sprint has purposefully

availed itself of the privileges of conducting business in the State of Texas and in this judicial



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district; Sprint regularly conducts business within the State of Texas and within this judicial

district; and Plaintiff’s cause of action arises directly from Sprint’s business contacts and other

activities in the State of Texas and in this judicial district.

    17. Venue is proper in this district under 28 U.S.C. § 1400(b). Sprint has committed acts of

infringement and has a regular and established place of business in this District.

    18. This Court has personal jurisdiction over Nokia Corp. because: Nokia Corp. is present

within or has minimum contacts within the State of Texas and this judicial district; Nokia Corp.

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; Nokia Corp. regularly conducts business within the State of Texas and

within this judicial district; and Plaintiff’s cause of action arises directly from Nokia Corp.’s

business contacts and other activities in the State of Texas and in this judicial district.

    19. Venue is proper in this district under 28 U.S.C. § 1400(b) because Nokia Corp. has

committed acts of infringement and has a regular and established place of business in this District.

    20. This Court has personal jurisdiction over Nokia Finland because: Nokia Finland is present

within or has minimum contacts within the State of Texas and this judicial district; Nokia Finland

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; Nokia Finland regularly conducts business within the State of Texas and

within this judicial district; and Plaintiff’s cause of action arises directly from Nokia Finland’s

business contacts and other activities in the State of Texas and in this judicial district.

    21. Venue is proper in this district under 28 U.S.C. § 1400(b) because Nokia Finland has

committed acts of infringement and has a regular and established place of business in this District,

including at least 1703 W 5th St, Austin, TX 78703.




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       22. This Court has personal jurisdiction over Samsung because: Samsung is present within or

has minimum contacts within the State of Texas and this judicial district; Samsung has

purposefully availed itself of the privileges of conducting business in the State of Texas and in this

judicial district; Samsung regularly conducts business within the State of Texas and within this

judicial district; and Plaintiff’s cause of action arises directly from Samsung’s business contacts

and other activities in the State of Texas and in this judicial district.

       23. Venue is proper in this district under 28 U.S.C. § 1400(b) because Samsung has committed

acts of infringement and has a regular and established place of business in this District.

V.           INFRINGEMENT (‘209 Patent (Attached as exhibit A))

       24. On October 15, 2019, U.S. Patent No. 10,448,209 (“the ‘209 patent”) entitled “WIRELESS

           NETWORK AND METHOD WITH COMMUNICATIONS                                  ERROR      TREND

           ANALYSIS” was duly and legally issued by the U.S. Patent and Trademark Office.

           Traxcell owns the ‘209 patent by assignment.

       25. The ‘209 Patent’s Abstract states, “A mobile wireless network and a method of operation

           provide tracking of mobile devices and case file generation initiated upon detecting

           communications errors. The case files contain trends corresponding to the communications

           errors by analyzing parameters of the communications. The trends are compared to stored

           patterns that represent particular error types and resolutions so that corrective action can

           be taken on the network.”

           A. T-Mobile and Sprint

       26. The preliminary exemplary chart attached as Exhibits B and C provides notice of Traxcell’s

           allegations of infringement against T-Mobile and Sprint. 4 For purposes of this complaint,



4
    Sprint network architecture is different than T-Mobile network architecture.

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        a wireless network comprises at least: (1) Radio Access Network comprising at least one

        base station controller, at least one transceiver, and at least one antenna; (2) a system of

        computers, the system of computers comprising computers associated with the at least one

        base station controller(s); computers functioning for network optimization, including at

        least computers implementing D-SON and C-SON; 5 and, computers functioning for

        locating wireless devices; and, (3) one or more wireless devices. 6

    27. T-Mobile and Sprint make, use, offer to sell, and/or sell within or imports into the U.S.

        wireless networks, wireless-network components, and related services that use

        performance measurements to suggest corrective actions such that T-Mobile and Sprint

        infringe claims 1–18 of the ‘209 patent, literally or under the doctrine of equivalents.

    28. More specifically, T-Mobile and Sprint make, use, offers to sell, and/or sell within or

        imports into the U.S. wireless networks, wireless-network components, and related

        services that use performance measurements to suggest corrective actions for monitoring

        trends such that T-Mobile and Sprint infringe claims 1–18 of the ‘209 patent, literally or

        under the doctrine of equivalents by putting the entire claimed invention into use,

        controlling it, and obtaining benefit from it. T-Mobile and Sprint’s equipment providers

        include Ericsson, Nokia and Samsung.

    29. Again more specifically, T-Mobile and Sprint put its wireless network into use, and or

        causes T-Mobile and Sprint subsidiaries or family of companies, vendors, partners to put

        components of the wireless network in use, and controls it by using the wireless network

        to perform or have performed on it the claimed functions, as charted in Exhibits B and C.


5
  It is understood that at least a portion of Sprint’s C-SON is licensed from Cisco, but C-SON not provided by Cisco
would not be licensed.
6
  A wireless device is considered within the wireless network when in RF communication. However, a processor of
such wireless device may also be considered outside or inside the network.

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   For example, a component of the system of computers that is used in providing access to

   an indication of location of a wireless device may be controlled by one or more T-Mobile

   and Sprint subsidiaries or family of companies, vendors, or partners. In addition to Exhibits

   B and C and the facts alleged herein, additional relevant facts are recited in Traxcell’s

   Infringement Contentions.

30. Again more specifically, T-Mobile and Sprint receive the benefits of the claims from the

   patent’s teaching systems and methods that wireless networks utilize to collect, store, and

   process information relating to the location of users in order to optimize a wireless network.

   Benefits of practicing the claims of the ’209 include the ability to tune a wireless network

   in order to improve quality of service (“QoS”) from a wireless user’s point of view. This

   includes better voice quality, fewer dropouts, and improved handoff procedures if QoS

   deteriorates near the edge of a cell. Practicing the claims of the ’209 patent also provides

   for an increase in the number of users who can simultaneously use a network. Furthermore,

   the claims of the ’209 patent enable network operators to allocate resources in a very

   efficient way and reduce costs.

31. Again more specifically, T-Mobile And Sprint receive the benefits of the claims of the ’209

   providing:

       a. Increased automation for higher network performance with lower cost;

       b. Network Quality Optimization: the user experience;

       c. Reduction in Power/Energy Consumption (reduced OPEX);

       d. Reduction in Carbon Dioxide Emissions;

       e. Reduction in Operational Costs: field management, coverage optimization,

           capacity optimization, operational efficiency (including personnel costs);



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       f. Reduction in the need for Over-Dimensioning;

       g. Reduction or deferment of CAPEX;

       h. Access to location information of a wireless device; and,

       i. the like.

32. T-Mobile and Sprint put the inventions claimed by the ‘209 Patent into service (i.e., used

   them); but for T-Mobile and Sprint’s actions, the claimed-inventions embodiments

   involving T-Mobile and Sprint’s products and services would never have been put into

   service.    T-Mobile’s acts complained of herein caused those claimed-invention

   embodiments as a whole to perform, and T-Mobile and Sprint obtaining monetary and

   commercial benefit from it.

33. Defendant has and continues to induce infringement from at least the filing date of the

   lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued T-

   Mobile and Sprint on October 31, 2017. T-Mobile has actively encouraged or instructed

   others (e.g., its customers), and continues to do so, on how to use its products and services

   (e.g., U.S. wireless networks, wireless-network components that use performance

   measurements to suggest corrective actions and controlling access to location information)

   such to cause infringement claims 1-18 of the ‘209 patent, literally or under the doctrine of

   equivalents. Moreover, T-Mobile and Sprint have known and should have known of the

   ‘209 patent, by at least by the date of the patent’s issuance, or from the issuance of the ‘284

   patent, which followed the date that the patent’s underlying application was cited to T-

   Mobile by the U.S. Patent and Trademark Office during prosecution of one of T-Mobile

   and Sprint’s patent applications. Further, Sprint, with which T-Mobile merged, received a

   letter from Traxcell in 2007 enclosing a copy of the application that issued as the ‘284



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   patent. More specifically, T-Mobile and Sprint have known or should have known of the

   ‘209 patent since being sued previously by Traxcell on other family related patents and a

   reasonable company would monitor the family of patents. Further, specifically, Mark

   Jefferson Reed testified in a deposition taken by Sprint’s lawyers that he had other family

   related patents.

34. Defendant has and continues to contributorily infringe from at least the filing date of the

   lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued T-

   Mobile and Sprint on October 31, 2017. T-Mobile and Sprint have actively encouraged or

   instructed others (e.g., its customers, and/or the customers of their related companies), and

   continues to do so, on how to use its products and services e.g., U.S. wireless networks,

   wireless-network components (including network components) that use performance

   measurements to suggest corrective actions and controlling access to location information)

   such as to cause infringement of one or more of claims 1–18 of the ‘209 patent, literally or

   under the doctrine of equivalents. Further, there are no substantial noninfringing uses for

   Defendant’s products and services. Moreover, T-Mobile and Sprint have known and

   should have known of the ‘209 patent, by at least by the date of the patent’s issuance, or

   from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

   application was cited to T-Mobile and Sprint by the U.S. Patent and Trademark Office

   during prosecution of one of T-Mobile/Sprint’s patent applications. More specifically, T-

   Mobile and Sprint have known or should have known of the ‘209 patent since it was

   brought into defend a lawsuit brough by Traxcell against T-Mobile and Sprint on other

   family related patents and a reasonable company would monitor the family of patents.




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        Further, specifically, Mark Jefferson Reed testified in a deposition taken by Sprint’s

        lawyers in the other litigation that he had other family related patents.

    35. T-Mobile and Sprint have caused and will continue to cause Traxcell damage by infringing

        the ‘209 patent.



    C. Nokia

    36. The preliminary exemplary chart attached as Exhibit B provides notice of Traxcell’s

        allegations of infringement against Nokia. For purposes of this complaint, a wireless

        network comprises at least: (1) Radio Access Network comprising at least one base station

        controller, at least one transceiver, and at least one antenna; (2) a system of computers, the

        system of computers comprising computers associated with the at least one base station

        controller(s); computers functioning for network optimization, including at least computers

        implementing D-SON and C-SON; and, computers functioning for locating wireless

        devices; and, (3) one or more wireless devices. 7

    37. Nokia makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

        networks, wireless-network components, and related services that use performance

        measurements to suggest corrective actions and controlling access to location information

        such that Nokia infringes claims 1–18 of the ‘209 patent, literally or under the doctrine of

        equivalents.

    38. More specifically, Nokia makes, uses, offers to sell, and/or sells within or imports into the

        U.S. wireless networks, wireless-network components, and related services that use

        performance measurements to suggest corrective actions and controlling access to location


7
 A wireless device is considered within the wireless network when in RF communication. However, a processor of
such wireless device may also be considered outside or inside the network.

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   information such that Nokia infringes claims 1–18 of the ‘209 patent, literally or under the

   doctrine of equivalents by putting the entire claimed invention into use, controlling it, and

   obtaining benefit from it.

39. Again more specifically, Nokia receives the benefits of the claims from the patent’s

   teaching systems and methods that wireless networks utilize to collect, store, and process

   information relating to the location of users in order to optimize a wireless network.

   Benefits of practicing the claims of the ’209 include the ability to tune a wireless network

   in order to improve quality of service (“QoS”) from a wireless user’s point of view. This

   includes better voice quality, fewer dropouts, and improved handoff procedures if QoS

   deteriorates near the edge of a cell. Practicing the claims of the ’209 patent also provides

   for an increase in the number of users who can simultaneously use a network. Furthermore,

   the claims of the ’209 patent enable network operators to allocate resources in a very

   efficient way and reduce costs.

40. Again more specifically, Nokia receives the benefits of the claims of the ’209 providing:

       a. Increased automation for higher network performance with lower cost;

       b. Network Quality Optimization: the user experience;

       c. Reduction in Power/Energy Consumption (reduced OPEX);

       d. Reduction in Carbon Dioxide Emissions;

       e. Reduction in Operational Costs: field management, coverage optimization,

           capacity optimization, operational efficiency (including personnel costs);

       f. Reduction in the need for Over-Dimensioning;

       g. Reduction or deferment of CAPEX;

       h. Access to location information of a wireless device; and,



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             i. the like.

    41. Nokia put the inventions claimed by the ‘209 Patent into service (i.e., used them); but for

        Nokia’s actions, the claimed-inventions embodiments involving Nokia’s products and

        services would never have been put into service. Nokia’s acts complained of herein caused

        those claimed-invention embodiments as a whole to perform, and Nokia obtaining

        monetary and commercial benefit from it.

    42. Nokia has actively encouraged or instructed others (e.g., its customers, such as T-Mobile,

        the Sprint Companies, 8 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless networks, wireless-network components (including Nokia network components)

        that use performance measurements to suggest corrective actions and controlling access to

        location information) such as to cause infringement of one or more of claims 1–18 of the

        ‘209 patent, literally or under the doctrine of equivalents. Moreover, Nokia has known and

        should have known of the ‘209 patent, by at least by the date of the patent’s issuance, or

        from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

        application was cited to Nokia by the U.S. Patent and Trademark Office during prosecution

        of one of Nokia’s patent applications. More specifically, Nokia has known or should have

        known of the ‘209 patent since it was previously sued by Traxcell on other family related

        patents. As well, a letter dated December 5, 2007 was sent to Nokia to discuss the patent

        applications sent to Nokia in August of 2007, attached as Exhibit D. Further, specifically,

        Mark Jefferson Reed testified in a deposition taken by Nokia’s lawyers in the other



8
 Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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        litigation that he had other family related patents and a reasonable company would monitor

        the family of patents.

    43. Defendant has and continues to contributorily infringe from at least the filing date of the

        lawsuit. Nokia has actively encouraged or instructed others (e.g., its customers, such as T-

        Mobile, the Sprint Companies, 9 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless networks, wireless-network components (including network components) that use

        performance measurements to suggest corrective actions and controlling access to location

        information) such as to cause infringement of one or more of claims 1–18 of the ‘209

        patent, literally or under the doctrine of equivalents. Further, there are no substantial

        noninfringing uses for Defendant’s products and services. Moreover, Nokia has known

        and should have known of the ‘209 patent, by at least by the date of the patent’s issuance,

        or from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

        application was cited to Nokia by the U.S. Patent and Trademark Office during prosecution

        of one of Nokia’s patent applications. More specifically, Nokia has known or should have

        known of the ‘209 patent since it was sued in a lawsuit brought by Traxcell against Nokia

        on other family related patents. As well, a letter dated December 5, 2007 was sent to Nokia

        to discuss the patent applications sent to Nokia in August of 2007, attached as Exhibit D.

        Further, specifically, Mark Jefferson Reed testified in a deposition taken by Nokia’s

        lawyers in the other litigation that he had other family related patents and a reasonable




9
 Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by or merged with T-Mobile USA, Inc.

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        company would monitor the family of patents. Nokia was assisting T-Mobile in its

        defense.

     44. Nokia has caused and will continue to cause Traxcell damage by infringing the ‘209 patent.



D. Samsung

     45. The preliminary exemplary chart attached as Exhibit C 10 provides notice of Traxcell’s

        allegations of infringement against Samsung. For purposes of this complaint, a wireless

        network comprises at least: (1) Radio Access Network comprising at least one base station

        controller, at least one transceiver, and at least one antenna; (2) a system of computers, the

        system of computers comprising computers associated with the at least one base station

        controller(s); computers functioning for network optimization, including at least computers

        implementing D-SON and C-SON; and, computers functioning for locating wireless

        devices; and, (3) one or more wireless devices. 11

     46. Samsung makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

        networks, wireless-network components, and related services that use performance

        measurements to suggest corrective actions and controlling access to location information

        such that Samsung infringes claims 1–18 of the ‘209 patent, literally or under the doctrine

        of equivalents.

     47. More specifically, Samsung makes, uses, offers to sell, and/or sells within or imports into

        the U.S. wireless networks, wireless-network components, and related services that use

        performance measurements to suggest corrective actions and controlling access to location



10
  Chart contains Sprint network infrastructure and components by Samsung.
11
  A wireless device is considered within the wireless network when in RF communication. However, a processor of
such wireless device may also be considered outside or inside the network.

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   information such that Samsung infringes claims 1–18 of the ‘209 patent, literally or under

   the doctrine of equivalents by putting the entire claimed invention into use, controlling it,

   and obtaining benefit from it.

48. Again more specifically, Samsung receives the benefits of the claims from the patent’s

   teaching systems and methods that wireless networks utilize to collect, store, and process

   information relating to the location of users in order to optimize a wireless network.

   Benefits of practicing the claims of the ’209 include the ability to tune a wireless network

   in order to improve quality of service (“QoS”) from a wireless user’s point of view. This

   includes better voice quality, fewer dropouts, and improved handoff procedures if QoS

   deteriorates near the edge of a cell. Practicing the claims of the ’209 patent also provides

   for an increase in the number of users who can simultaneously use a network. Furthermore,

   the claims of the ’209 patent enable network operators to allocate resources in a very

   efficient way and reduce costs.

49. Again more specifically, Samsung receives the benefits of the claims of the ’209 providing:

       a. Increased automation for higher network performance with lower cost;

       b. Network Quality Optimization: the user experience;

       c. Reduction in Power/Energy Consumption (reduced OPEX);

       d. Reduction in Carbon Dioxide Emissions;

       e. Reduction in Operational Costs: field management, coverage optimization,

           capacity optimization, operational efficiency (including personnel costs);

       f. Reduction in the need for Over-Dimensioning;

       g. Reduction or deferment of CAPEX;

       h. Access to location information of a wireless device; and,



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             i. the like.

     50. Samsung put the inventions claimed by the ‘209 Patent into service (i.e., used them); but

        for Samsung’s actions, the claimed-inventions embodiments involving Samsung’s

        products and services would never have been put into service. Samsung’s acts complained

        of herein caused those claimed-invention embodiments as a whole to perform, and

        Samsung obtaining monetary and commercial benefit from it.

     51. Samsung has actively encouraged or instructed others (e.g., its customers, such as T-

        Mobile, the Sprint Companies, 12 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless     networks,      wireless-network         components      (including     Samsung       network

        components) that use performance measurements to suggest corrective actions and

        controlling access to location information) such as to cause infringement of one or more of

        claims 1–18 of the ‘209 patent, literally or under the doctrine of equivalents. Moreover,

        Samsung has known and should have known of the ‘209 patent, by at least by the date of

        the patent’s issuance, or from the issuance of the ‘284 patent, which followed the date that

        the patent’s underlying application was cited to Samsung by the U.S. Patent and Trademark

        Office during prosecution of one of Samsung’s patent applications. More specifically,

        Samsung has known or should have known of the ‘209 patent since it was previously sued

        by Traxcell on other family related patents and a reasonable company would monitor the

        family of patents. As well, in 2007, Samsung was contacted by letter concerning Traxcell’s

        patent applications. No response was received.



12
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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     52. Defendant has and continues to contributorily infringe from at least the filing date of the

        lawsuit. Samsung has actively encouraged or instructed others (e.g., its customers, such as

        T-Mobile, the Sprint Companies, 13 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless networks, wireless-network components (including network components) that use

        performance measurements to suggest corrective actions and controlling access to location

        information) such as to cause infringement of one or more of claims 1–18 of the ‘209

        patent, literally or under the doctrine of equivalents. Further, there are no substantial

        noninfringing uses for Defendant’s products and services. Moreover, Samsung has known

        and should have known of the ‘209 patent, by at least by the date of the patent’s issuance,

        or from the issuance of the ‘284 patent.

     53. patent, which followed the date that the patent’s underlying application was cited to

        Samsung by the U.S. Patent and Trademark Office during prosecution of one of Samsung’s

        patent applications. More specifically, Samsung has known or should have known of the

        ‘209 patent since it was sued in a lawsuit brought by Traxcell against Samsung on other

        family related patents and a reasonable company would monitor the family of patents. As

        well, in 2007, Samsung was contacted by letter concerning Traxcell’s patent applications.

        No response was received.

     54. Samsung has caused and will continue to cause Traxcell damage by infringing the ‘209

        patent.

VII.         INFRINGEMENT ‘175 Patent (Attached as exhibit E))



13
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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     55. On August 20, 2019, U.S. Patent No. 10,390,175 (“the ‘175 patent”), attached as Exhibit

        E, entitled “Mobile wireless device tracking and notification system” was duly and legally

        issued by the U.S. Patent and Trademark Office. Traxcell owns the ‘175 patent by

        assignment.

     56. The ’175 Patent’s Abstract states, “A mobile wireless network and a method of operation

        provide tracking of mobile devices either in a passive mode or an active mode. In the

        passive mode, fault detection triggers generation of a case file associated with the device

        experiencing the fault. In the active mode, a user of the system can specify tracking mobile

        devices by sector or one or more mobile devices by identifier. Notifications can be

        generated in response to detection of a fault, or when a device enters a predetermined

        geographic region..”

A. T-Mobile and Sprint

     57. The preliminary exemplary chart attached as Exhibits I and J provide notice of Traxcell’s

        allegations of infringement against T-Mobile and Sprint. For purposes of this complaint,

        a wireless network comprises at least: (1) Radio Access Network comprising at least one

        base station controller, at least one transceiver, and at least one antenna; (2) a system of

        computers, the system of computers comprising computers associated with the at least one

        base station controller(s); computers functioning for network optimization, including at

        least computers implementing D-SON and C-SON; and, computers functioning for

        locating wireless devices; and, (3) one or more wireless devices. 14

     58. T-Mobile and Sprint make, use, offer to sell, and/or sell within or imports into the U.S.

        wireless networks, wireless-network components, and related services that use


14
  A wireless device is considered within the wireless network when in RF communication. However, a processor of
such wireless device may also be considered outside or inside the network.

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   performance measurements to suggest corrective actions such that T-Mobile and Sprint

   infringe claims 1–18 of the ‘175 patent, literally or under the doctrine of equivalents.

59. More specifically, T-Mobile and Sprint make, use, offer to sell, and/or sell within or

   imports into the U.S. wireless networks, wireless-network components, and related

   services that use performance measurements to suggest corrective actions for monitoring

   trends such that T-Mobile and Sprint infringe claims 1–18 of the ‘175 patent, literally or

   under the doctrine of equivalents by putting the entire claimed invention into use,

   controlling it, and obtaining benefit from it. Sprint and T-Mobile’s equipment providers

   include Ericsson, Nokia and Samsung.

60. Again more specifically, T-Mobile and Sprint put its wireless network into use, and or

   causes T-Mobile and Sprint subsidiaries or family of companies, vendors, partners to put

   components of the wireless network in use, and controls it by using the wireless network

   to perform or have performed on it the claimed functions, as charted in Exhibits I and J.

   For example, a component of the system of computers that is used in providing access to

   an indication of location of a wireless device may be controlled by one or more T-Mobile

   and Sprint subsidiaries or family of companies, vendors, or partners. In addition to

   Exhibits I and J and the facts alleged herein, additional relevant facts are recited in

   Traxcell’s Infringement Contentions.

61. Again more specifically, T-Mobile and Sprint receive the benefits of the claims from the

   patent’s teaching systems and methods that wireless networks utilize to collect, store, and

   process information relating to the location of users in order to optimize a wireless network.

   Benefits of practicing the claims of the ’175 include the ability to tune a wireless network

   in order to improve quality of service (“QoS”) from a wireless user’s point of view,



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   including through at least tracking a wireless device and assessing its performance. This

   includes better voice quality, fewer dropouts, and improved handoff procedures if QoS

   deteriorates near the edge of a cell. Practicing the claims of the ’175 patent also provides

   for an increase in the number of users who can simultaneously use a network. Furthermore,

   the claims of the ’175 patent enable network operators to allocate resources in a very

   efficient way and reduce costs.

62. Again more specifically, T-Mobile and Sprint receive the benefits of the claims of the ’175

   providing:

       a. Increased automation for higher network performance with lower cost;

       b. Network Quality Optimization: the user experience;

       c. Reduction in Power/Energy Consumption (reduced OPEX);

       d. Reduction in Carbon Dioxide Emissions;

       e. Reduction in Operational Costs: field management, coverage optimization,

           capacity optimization, operational efficiency (including personnel costs);

       f. Reduction in the need for Over-Dimensioning;

       g. Reduction or deferment of CAPEX;

       h. Access to location information of a wireless device

       i. Tracking of one or more wireless devices; and,

       j. the like.

63. T-Mobile and Sprint put the inventions claimed by the ‘175 Patent into service (i.e., used

   them); but for T-Mobile and Sprint’s actions, the claimed-inventions embodiments

   involving T-Mobile and Sprint’s products and services would never have been put into

   service. T-Mobile and Sprint’s acts complained of herein caused those claimed-invention



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   embodiments as a whole to perform, and T-Mobile and Sprint obtaining monetary and

   commercial benefit from it.

64. Defendant has and continues to induce infringement from at least the filing date of the

   lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued T-

   Mobile and Sprint on October 31, 2017. T-Mobile and Sprint has actively encouraged or

   instructed others (e.g., its customers), and continues to do so, on how to use its products

   and services (e.g., U.S. wireless networks, wireless-network components that use

   performance measurements to suggest corrective actions and controlling access to location

   information) such to cause infringement claims 1-18 of the ‘175 patent, literally or under

   the doctrine of equivalents. Moreover, T-Mobile and Sprint have known and should have

   known of the ‘175 patent, by at least by the date of the patent’s issuance, or from the

   issuance of the ‘284 patent, which followed the date that the patent’s underlying application

   was cited to T-Mobile and Sprint by the U.S. Patent and Trademark Office during

   prosecution of one of T-Mobile and Sprint’s patent applications. More specifically, T-

   Mobile and Sprint have known or should have known of the ‘175 patent since being sued

   previously by Traxcell on other family related patents and a reasonable company would

   monitor the family of patents. Further, specifically, Mark Jefferson Reed testified in a

   deposition taken by Sprint’s lawyers that he had other family related patents.

65. Defendant has and continues to contributorily infringe from at least the filing date of the

   lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued T-

   Mobile and Sprint on October 31, 2017. T-Mobile and Sprint have actively encouraged or

   instructed others (e.g., its customers, and/or the customers of their related companies), and

   continues to do so, on how to use its products and services e.g., U.S. wireless networks,



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   wireless-network components (including network components) that use performance

   measurements to suggest corrective actions and controlling access to location information)

   such as to cause infringement of one or more of claims 1–18 of the ‘175 patent, literally or

   under the doctrine of equivalents. Further, there are no substantial noninfringing uses for

   Defendant’s products and services. Moreover, T-Mobile and Sprint have known and

   should have known of the ‘175 patent, by at least by the date of the patent’s issuance, or

   from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

   application was cited to T-Mobile and Sprint by the U.S. Patent and Trademark Office

   during prosecution of one of T-Mobile and Sprint’s patent applications. More specifically,

   T-Mobile and Sprint have known or should have known of the ‘175 patent since it was

   brought into defend a lawsuit brough by Traxcell against T-Mobile and Sprint on other

   family related patents and a reasonable company would monitor the family of patents.

   Further, specifically, Mark Jefferson Reed testified in a deposition taken by Sprint’s

   lawyers in the other litigation that he had other family related patents.

66. T-Mobile and Sprint have caused and will continue to cause Traxcell damage by infringing

   the ‘175 patent.



B. Ericsson

67. The preliminary exemplary chart attached as Exhibit G provides notice of Traxcell’s

   allegations of infringement against Ericsson for its network equipment supplied to T-

   Mobile and Sprint.      (https://www.ericsson.com/en/press-releases/2018/9/t-mobile-and-

   ericsson-sign-major-$3.5-billion-5g-agreement) For purposes of this complaint, a wireless

   network comprises at least: (1) Radio Access Network comprising at least one base station



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        controller, at least one transceiver, and at least one antenna; (2) a system of computers, the

        system of computers comprising computers associated with the at least one base station

        controller(s); computers functioning for network optimization, including at least computers

        implementing D-SON and C-SON; and, computers functioning for locating wireless

        devices; and, (3) one or more wireless devices. 15

     68. Ericsson makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

        networks, wireless-network components, and related services that use performance

        measurements to suggest corrective actions and controlling access to location information

        such that Ericsson infringes claims 1–18 of the ‘175 patent, literally or under the doctrine

        of equivalents.

     69. More specifically, Ericsson makes, uses, offers to sell, and/or sells within or imports into

        the U.S. wireless networks, wireless-network components, and related services that use

        performance measurements to suggest corrective actions and controlling access to location

        information such that Ericsson infringes claims 1–18 of the ‘175 patent, literally or under

        the doctrine of equivalents by putting the entire claimed invention into use, controlling it,

        and obtaining benefit from it.

     70. Again more specifically, Ericsson receives the benefits of the claims from the patent’s

        teaching systems and methods that wireless networks utilize to collect, store, and process

        information relating to the location of users in order to optimize a wireless network,

        including through at least tracking a wireless device and assessing its performance.

        Benefits of practicing the claims of the ’175 include the ability to tune a wireless network

        in order to improve quality of service (“QoS”) from a wireless user’s point of view. This


15
  A wireless device is considered within the wireless network when in RF communication. However, a processor of
such wireless device may also be considered outside or inside the network.

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   includes better voice quality, fewer dropouts, and improved handoff procedures if QoS

   deteriorates near the edge of a cell. Practicing the claims of the ’175 patent also provides

   for an increase in the number of users who can simultaneously use a network. Furthermore,

   the claims of the ’175 patent enable network operators to allocate resources in a very

   efficient way and reduce costs.

71. Again more specifically, Ericsson receives the benefits of the claims of the ’175 providing:

       a. Increased automation for higher network performance with lower cost;

       b. Network Quality Optimization: the user experience;

       c. Reduction in Power/Energy Consumption (reduced OPEX);

       d. Reduction in Carbon Dioxide Emissions;

       e. Reduction in Operational Costs: field management, coverage optimization,

           capacity optimization, operational efficiency (including personnel costs);

       f. Reduction in the need for Over-Dimensioning;

       g. Reduction or deferment of CAPEX;

       h. Access to location information of a wireless device;

       i. Tracking a wireless devices; and,

       j. the like.

72. Ericsson put the inventions claimed by the ‘175 Patent into service (i.e., used them); but

   for Ericsson’s actions, the claimed-inventions embodiments involving Ericsson’s products

   and services would never have been put into service. Ericsson’s acts complained of herein

   caused those claimed-invention embodiments as a whole to perform, and Ericsson

   obtaining monetary and commercial benefit from it.




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     73. Defendant has and continues to induce infringement from at least the filing date of the

        lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued T-

        Mobile on October 31, 2017, where Ericsson assisted in the defense as discussed herein.

        Ericsson has actively encouraged or instructed others (e.g., its customers, such as T-

        Mobile, the Sprint Companies, 16 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless     networks,      wireless-network         components      (including      Ericsson     network

        components) that use performance measurements to suggest corrective actions and

        controlling access to location information) such as to cause infringement of one or more of

        claims 1–18 of the ‘175 patent, literally or under the doctrine of equivalents. Moreover,

        Ericsson has known and should have known of the ‘175 patent, by at least by the date of

        the patent’s issuance, or from the issuance of the ‘284 patent, which followed the date that

        the patent’s underlying application was cited to Ericsson by the U.S. Patent and Trademark

        Office during prosecution of one of Ericsson’s patent applications. More specifically,

        Ericsson has known or should have known of the ‘175 patent since it was brought into

        defend a lawsuit brough by Traxcell against T-Mobile on other family related patents.

        Further, specifically, Mark Jefferson Reed testified in a deposition taken by T-Mobile’s

        lawyers in the other litigation that he had other family related patents and a reasonable

        company would monitor the family of patents and a reasonable company would monitor

        the family of patents. Further, Ericsson was put on Notice of Traxcell’s family of patents

        by the letter attached as Exhibit F.



16
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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     74. Defendant has and continues to contributorily infringe from at least the filing date of the

        lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued T-

        Mobile on October 31, 2017, where Ericsson assisted in the defense as discussed herein.

        Ericsson has actively encouraged or instructed others (e.g., its customers, such as T-

        Mobile, the Sprint Companies, 17Cellco Partnershiop and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless     networks,      wireless-network         components      (including      Ericsson     network

        components) that use performance measurements to suggest corrective actions and

        controlling access to location information) such as to cause infringement of one or more of

        claims 1–18 of the ‘175 patent, literally or under the doctrine of equivalents. Further, there

        are no substantial noninfringing uses for Defendant’s products and services. Moreover,

        Ericsson has known and should have known of the ‘175 patent, by at least by the date of

        the patent’s issuance, or from the issuance of the ‘284 patent, which followed the date that

        the patent’s underlying application was cited to Ericsson by the U.S. Patent and Trademark

        Office during prosecution of one of Ericsson’s patent applications. More specifically,

        Ericsson has known or should have known of the ‘175 patent since it was brought into

        defend a lawsuit brough by Traxcell against T-Mobile on other family related patents.

        Further, specifically, Mark Jefferson Reed testified in a deposition taken by T-Mobile’s

        lawyers in the other litigation that he had other family related patents and a reasonable

        company would monitor the family of patents and a reasonable company would monitor




17
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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        the family of patents. Further, Ericsson was put on Notice of Traxcell’s family of patents

        by the letter attached as Exhibit F.

     75. Ericsson has caused and will continue to cause Traxcell damage by infringing the ‘175

        patent.



     C. Nokia

     76. The preliminary exemplary chart attached as Exhibit I provides notice of Traxcell’s

        allegations of infringement against Nokia. For purposes of this complaint, a wireless

        network comprises at least: (1) Radio Access Network comprising at least one base station

        controller, at least one transceiver, and at least one antenna; (2) a system of computers, the

        system of computers comprising computers associated with the at least one base station

        controller(s); computers functioning for network optimization, including at least computers

        implementing D-SON and C-SON; and, computers functioning for locating wireless

        devices; and, (3) one or more wireless devices. 18

     77. Nokia makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

        networks, wireless-network components, and related services that use performance

        measurements to suggest corrective actions and controlling access to location information

        such that Nokia infringes claims 1–18 of the ‘175 patent, literally or under the doctrine of

        equivalents.

     78. More specifically, Nokia makes, uses, offers to sell, and/or sells within or imports into the

        U.S. wireless networks, wireless-network components, and related services that use

        performance measurements to suggest corrective actions and controlling access to location


18
  A wireless device is considered within the wireless network when in RF communication. However, a processor of
such wireless device may also be considered outside or inside the network.

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   information such that Nokia infringes claims 1–18 of the ‘175 patent, literally or under the

   doctrine of equivalents by putting the entire claimed invention into use, controlling it, and

   obtaining benefit from it.

79. Again more specifically, Nokia receives the benefits of the claims from the patent’s

   teaching systems and methods that wireless networks utilize to collect, store, and process

   information relating to the location of users in order to optimize a wireless network,

   including through at least tracking a wireless device and assessing its performance.

   Benefits of practicing the claims of the ’175 include the ability to tune a wireless network

   in order to improve quality of service (“QoS”) from a wireless user’s point of view. This

   includes better voice quality, fewer dropouts, and improved handoff procedures if QoS

   deteriorates near the edge of a cell. Practicing the claims of the ’175 patent also provides

   for an increase in the number of users who can simultaneously use a network. Furthermore,

   the claims of the ’175 patent enable network operators to allocate resources in a very

   efficient way and reduce costs.

80. Again more specifically, Nokia receives the benefits of the claims of the ’175 providing:

       a. Increased automation for higher network performance with lower cost;

       b. Network Quality Optimization: the user experience;

       c. Reduction in Power/Energy Consumption (reduced OPEX);

       d. Reduction in Carbon Dioxide Emissions;

       e. Reduction in Operational Costs: field management, coverage optimization,

           capacity optimization, operational efficiency (including personnel costs);

       f. Reduction in the need for Over-Dimensioning;

       g. Reduction or deferment of CAPEX;



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             h. Access to location information of a wireless device;

             i. Tracking a wireless device; and,

             j. the like.

     81. Nokia put the inventions claimed by the ‘175 Patent into service (i.e., used them); but for

        Nokia’s actions, the claimed-inventions embodiments involving Nokia’s products and

        services would never have been put into service. Nokia’s acts complained of herein caused

        those claimed-invention embodiments as a whole to perform, and Nokia obtaining

        monetary and commercial benefit from it.

     82. Nokia has actively encouraged or instructed others (e.g., its customers, such as T-Mobile,

        the Sprint Companies, 19 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless networks, wireless-network components (including network components) that use

        performance measurements to suggest corrective actions and controlling access to location

        information) such as to cause infringement of one or more of claims 1–18 of the ‘175

        patent, literally or under the doctrine of equivalents. Moreover, Nokia has known and

        should have known of the ‘175 patent, by at least by the date of the patent’s issuance, or

        from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

        application was cited to Nokia by the U.S. Patent and Trademark Office during prosecution

        of one of Nokia’s patent applications. More specifically, Nokia has known or should have

        known of the ‘175 patent since it was previously sued by Traxcell on other family related

        patents and a reasonable company would monitor the family of patents.                             Further,



19
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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        specifically, Mark Jefferson Reed testified in a deposition taken by Nokia’s lawyers in the

        other litigation that he had other family related patents and a reasonable company would

        monitor the family of patents. Further, Nokia was put on Notice of Traxcell’s family of

        patents by the letter attached as Exhibit D.

     83. Defendant has and continues to contributorily infringe from at least the filing date of the

        lawsuit. Nokia has actively encouraged or instructed others (e.g., its customers, such as T-

        Mobile, the Sprint Companies, 20 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless networks, wireless-network components (including network components) that use

        performance measurements to suggest corrective actions and controlling access to location

        information) such as to cause infringement of one or more of claims 1–18 of the ‘175

        patent, literally or under the doctrine of equivalents. Further, there are no substantial

        noninfringing uses for Defendant’s products and services. Moreover, Nokia has known

        and should have known of the ‘175 patent, by at least by the date of the patent’s issuance,

        or from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

        application was cited to Nokia by the U.S. Patent and Trademark Office during prosecution

        of one of Nokia’s patent applications. More specifically, Nokia has known or should have

        known of the ‘175 patent since it was sued in a lawsuit brought by Traxcell against Nokia

        on other family related patents. Further, specifically, Mark Jefferson Reed testified in a

        deposition taken by Nokia’s lawyers in the other litigation that he had other family related

        patents and a reasonable company would monitor the family of patents and a reasonable



20
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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        company would monitor the family of patents. Nokia was assisting T-Mobile in its

        defense. Further, Nokia was put on Notice of Traxcell’s family of patents by the letter

        attached as Exhibit D.

     84. Nokia has caused and will continue to cause Traxcell damage by infringing the ‘175 patent.



D. Samsung

     85. The preliminary exemplary chart attached as Exhibit J provides notice of Traxcell’s

        allegations of infringement against Samsung. For purposes of this complaint, a wireless

        network comprises at least: (1) Radio Access Network comprising at least one base station

        controller, at least one transceiver, and at least one antenna; (2) a system of computers, the

        system of computers comprising computers associated with the at least one base station

        controller(s); computers functioning for network optimization, including at least computers

        implementing D-SON and C-SON; and, computers functioning for locating wireless

        devices; and, (3) one or more wireless devices. 21

     86. Samsung makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

        networks, wireless-network components, and related services that use performance

        measurements to suggest corrective actions and controlling access to location information

        such that Samsung infringes claims 1–18 of the ‘175 patent, literally or under the doctrine

        of equivalents.

     87. More specifically, Samsung makes, uses, offers to sell, and/or sells within or imports into

        the U.S. wireless networks, wireless-network components, and related services that use

        performance measurements to suggest corrective actions and controlling access to location


21
  A wireless device is considered within the wireless network when in RF communication. However, a processor of
such wireless device may also be considered outside or inside the network.

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   information such that Samsung infringes claims 1–18 of the ‘175 patent, literally or under

   the doctrine of equivalents by putting the entire claimed invention into use, controlling it,

   and obtaining benefit from it.

88. Again more specifically, Samsung receives the benefits of the claims from the patent’s

   teaching systems and methods that wireless networks utilize to collect, store, and process

   information relating to the location of users in order to optimize a wireless network,

   including through at least tracking a wireless device and assessing its performance.

   Benefits of practicing the claims of the ’175 include the ability to tune a wireless network

   in order to improve quality of service (“QoS”) from a wireless user’s point of view. This

   includes better voice quality, fewer dropouts, and improved handoff procedures if QoS

   deteriorates near the edge of a cell. Practicing the claims of the ’175 patent also provides

   for an increase in the number of users who can simultaneously use a network. Furthermore,

   the claims of the ’175 patent enable network operators to allocate resources in a very

   efficient way and reduce costs.

89. Again more specifically, Samsung receives the benefits of the claims of the ’175 providing:

       a. Increased automation for higher network performance with lower cost;

       b. Network Quality Optimization: the user experience;

       c. Reduction in Power/Energy Consumption (reduced OPEX);

       d. Reduction in Carbon Dioxide Emissions;

       e. Reduction in Operational Costs: field management, coverage optimization,

           capacity optimization, operational efficiency (including personnel costs);

       f. Reduction in the need for Over-Dimensioning;

       g. Reduction or deferment of CAPEX;



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             h. Access to location information of a wireless device;

             i. Tracking a wireless device; and,

             j. the like.

     90. Samsung put the inventions claimed by the ‘175 Patent into service (i.e., used them); but

        for Samsung’s actions, the claimed-inventions embodiments involving Samsung’s

        products and services would never have been put into service. Samsung’s acts complained

        of herein caused those claimed-invention embodiments as a whole to perform, and

        Samsung obtaining monetary and commercial benefit from it.

     91. Samsung has actively encouraged or instructed others (e.g., its customers, such as T-

        Mobile, the Sprint Companies, 22 Cellco Partnership and/or the customers of their related

        companies), and continues to do so, on how to use its products and services e.g., U.S.

        wireless     networks,      wireless-network         components      (including     Samsung       network

        components) that use performance measurements to suggest corrective actions and

        controlling access to location information) such as to cause infringement of one or more of

        claims 1–18 of the ‘175 patent, literally or under the doctrine of equivalents. Moreover,

        Samsung has known and should have known of the ‘175 patent, by at least by the date of

        the patent’s issuance, or from the issuance of the ‘284 patent, which followed the date that

        the patent’s underlying application was cited to Samsung by the U.S. Patent and Trademark

        Office during prosecution of one of Samsung’s patent applications. More specifically,

        Samsung has known or should have known of the ‘175 patent since it was previously sued




22
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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        by Traxcell on other family related patents and a reasonable company would monitor the

        family of patents.

     92. Defendant has and continues to contributorily infringe from at least the filing date of the

        lawsuit. Samsung has actively encouraged or instructed others (e.g., its customers, such as

        T-Mobile, the Sprint Companies, 23 Cellco Parttnmership and/or the customers of their

        related companies), and continues to do so, on how to use its products and services e.g.,

        U.S. wireless networks, wireless-network components (including network components)

        that use performance measurements to suggest corrective actions and controlling access to

        location information) such as to cause infringement of one or more of claims 1–18 of the

        ‘175 patent, literally or under the doctrine of equivalents. Further, there are no substantial

        noninfringing uses for Defendant’s products and services. Moreover, Samsung has known

        and should have known of the ‘175 patent, by at least by the date of the patent’s issuance,

        or from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

        application was cited to Samsung by the U.S. Patent and Trademark Office during

        prosecution of one of Samsung’s patent applications. More specifically, Samsung has

        known or should have known of the ‘175 patent since it was sued in a lawsuit brought by

        Traxcell against Samsung on other family related patents and a reasonable company would

        monitor the family of patents.

     93. Samsung has caused and will continue to cause Traxcell damage by infringing the ‘175

        patent.




23
  Sprint Companies include Sprint Communications Company, L.P.; Sprint Spectrum, L.P.; Sprint Solutions, Inc.;
and all other entities owned or controlled by Sprint Corporation, at any time. The Sprint Companies are believed to
have been acquired by T-Mobile USA, Inc.

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E. INFRINGEMENT ‘196 Patent (Attached as exhibit H))

   94. On March 13, 2018, U.S. Patent No. 9,918,196 (“the ‘196 patent”), attached as Exhibit H,

      entitled “Internet queried directional navigation system with mobile and fixed originating

      location determination” was duly and legally issued by the U.S. Patent and Trademark

      Office. Traxcell owns the ‘196 patent by assignment.

   95. The ’196 Patent’s Abstract states, “A mobile wireless network and a method of operation

      provide directional assistance in response to an Internet query. The directional assistance

      is provided from a location of the querying device to a destination that may be selectively

      prompted based on whether the destination is a nearby business, a type of business, a street

      address, or another mobile device or fixed telephone location.”

      1. Sprint

   96. The preliminary exemplary chart attached as Exhibit K notice of Traxcell’s allegations of

      infringement against Sprint for its use of Google Maps. Traxcell provides further notice

      that it accuses Sprint’s Safe and Sound product (now known as T-Mobile’s Safe & Sound

      product)( https://safeandfound.sprint.com/) and further accuse Sprint’s Family Locator

      product     https://www.sprint.com/en/support/solutions/device/learn-if-family-members-

      know-when-you-locate-them-using-sprint-f.html.        The infringement charts for Google

      Maps provide adequate notice of the infringement theory for both Safe & Sound and

      Family Locator.

   97. Sprint makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

      networks, wireless-network components, and related services that use identified locations

      of wireless devices to provide directional assistance such that Sprint infringes claims 1–30

      of the ‘196 patent, literally or under the doctrine of equivalents.



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98. Sprint put the inventions claimed by the ‘196 Patent into service (i.e., used them); but for

   Sprint’s actions, the claimed-inventions embodiments involving Sprint’s products and

   services would never have been put into service. Sprint’s acts complained of herein caused

   those claimed-invention embodiments as a whole to perform, and Sprint obtaining

   monetary and commercial benefit from it.

99. More specifically, it is necessary for Sprint to have access to the location data of a wireless

   device. Stated another way, Sprint would not experience the benefit of obtaining location

   data of a wireless device without the system and/or method comprising each claim element,

   as charted, literally or under the doctrine of equivalents.


100.       Sprint’s Accused wireless communications systems put those features into use.

   Sprint obtains a benefit from each in that, for example, it may use those features to provide

   navigation information to the wireless mobile device and indicate the location of the

   wireless mobile device in response to preference flags. No other entity makes use of those

   features in that way when Sprint’s Accused wireless communications systems put them

   into use. In addition, operational and financial benefits are provided by those elements and

   functionalities to Sprint as explained below.

101.       Sprint receives the benefit of acquiring wireless device location data from the

   claimed systems and methods. Sprint is able to use this acquired location data to benefit

   Sprint’s services (by navigation, tracking, locating, directing, and/or the like), by

   improving Sprint services or to benefit them and its other services, such as purchases from

   stores selling Sprint products, targeted marketing, and support of other Sprint devices to

   drive up the purchase of the other devices; pay transactions by Sprint’s systems; and also

   to drive sales of Sprint wireless devices including smart phones, Sprint watches and other
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   third party devices pre-loaded with GPS, WiFi, wireless network elements, and third party

   LBS applications. Sprint also charges a consumer/purchaser a fee per device for the

   installation of the LBS service.”).

102.       Sprint put the inventions claimed by the ‘196 Patent into service (i.e., used them);

   but for Sprint’s actions, the claimed-inventions embodiments involving Sprint’s products

   and services would never have been put into service. Sprint’s acts complained of herein

   caused those claimed-invention embodiments as a whole to perform, and Sprint obtaining

   monetary and commercial benefit from it.

103.       Defendant has and continues to induce infringement from at least the filing date of

   the lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued

   Sprint on October 31, 2017. Sprint has actively encouraged or instructed others (e.g., its

   customers), and continues to do so, on how to use its products and services (e.g., U.S.

   wireless networks, wireless-network components that use performance measurements to

   suggest corrective actions and controlling access to location information) such to cause

   infringement claims 1-30 of the ‘196 patent, literally or under the doctrine of equivalents.

   Moreover, Sprint has known and should have known of the ‘196 patent, by at least by the

   date of the patent’s issuance, or from the issuance of the ‘284 patent, which followed the

   date that the patent’s underlying application was cited to Sprint by the U.S. Patent and

   Trademark Office during prosecution of one of Sprint’s patent applications.           More

   specifically, Sprint has known or should have known of the ‘196 patent since being sued

   previously by Traxcell on other family related patents and a reasonable company would

   monitor the family of patents. Further, specifically, Mark Jefferson Reed testified in a

   deposition taken by Sprint’s lawyers that he had other family related patents.



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104.       Defendant has and continues to contributorily infringe from at least the filing date

   of the lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued

   Sprint on October 31, 2017. Sprint has actively encouraged or instructed others (e.g., its

   customers, and/or the customers of their related companies), and continues to do so, on

   how to use its products and services e.g., U.S. wireless networks, wireless-network

   components (including network components) that use performance measurements to

   suggest corrective actions and controlling access to location information) such as to cause

   infringement of one or more of claims 1–30 of the ‘196 patent, literally or under the

   doctrine of equivalents.      Further, there are no substantial noninfringing uses for

   Defendant’s products and services. Moreover, Sprint has known and should have known

   of the ‘196 patent, by at least by the date of the patent’s issuance, or from the issuance of

   the ‘284 patent, which followed the date that the patent’s underlying application was cited

   to Sprint by the U.S. Patent and Trademark Office during prosecution of one of Sprint’s

   patent applications. More specifically, Sprint has known or should have known of the ‘196

   patent since it was brought into defend a lawsuit brough by Traxcell against Sprint on other

   family related patents and a reasonable company would monitor the family of patents.

   Further, specifically, Mark Jefferson Reed testified in a deposition taken by Sprint’s

   lawyers in the other litigation that he had other family related patents.

   2. T-Mobile

105.       The preliminary exemplary chart attached as Exhibit L provides notice of Traxcell’s

   allegations of infringement against T-Mobile for its use of Google Maps. Traxcell provides

   further notice that it accuses T-Mobile’s Safe and Sound product (now known as T-

   Mobile’s Safe & Sound product)( https://safeandfound.sprint.com/) and further accuse T-



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   Mobile’s Family WhereApp product https://www.t-mobile.com/support/plans-features/t-

   mobile-familywhere-app The infringement charts for Google Maps provide adequate notice

   of the infringement theory for both Safe & Sound and WhereApp. Further, the chart

   attached as Exhibit M provides adequate notice of Traxcell’s infringement theory of T-

   Mobile’s e911 product.

106.       T-Mobile makes, uses, offers to sell, and/or sells within or imports into the U.S.

   wireless networks, wireless-network components, and related services that use identified

   locations of wireless devices to provide directional assistance such that Sprint infringes

   claims 1–30 of the ‘196 patent, literally or under the doctrine of equivalents.

107.       T-Mobile put the inventions claimed by the ‘196 Patent into service (i.e., used

   them); but for T-Mobile’s actions, the claimed-inventions embodiments involving T-

   Mobile’s products and services would never have been put into service. T-Mobile’s acts

   complained of herein caused those claimed-invention embodiments as a whole to perform,

   and Sprint obtaining monetary and commercial benefit from it.

108.       More specifically, it is necessary for Sprint to have access to the location data of a

   wireless device. Stated another way, Sprint would not experience the benefit of obtaining

   location data of a wireless device without the system and/or method comprising each claim

   element, as charted, literally or under the doctrine of equivalents.


109.       T-Mobile’s Accused wireless communications systems put those features into use.

   T-Mobile obtains a benefit from each in that, for example, it may use those features to

   provide navigation information to the wireless mobile device and indicate the location of

   the wireless mobile device in response to preference flags. No other entity makes use of

   those features in that way when T-Mobile’s Accused wireless communications systems put


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   them into use. In addition, operational and financial benefits are provided by those

   elements and functionalities to Sprint as explained below.

110.       T-Mobile receives the benefit of acquiring wireless device location data from the

   claimed systems and methods. T-Mobile is able to use this acquired location data to

   benefit T-Mobile ’s services (by navigation, tracking, locating, directing, and/or the like),

   by improving T-Mobile services or to benefit them and its other services, such as purchases

   from stores selling T-Mobile products, targeted marketing, and support of other T-Mobile

   devices to drive up the purchase of the other devices; pay transactions by T-Mobile ’s

   systems; and also to drive sales of T-Mobile wireless devices including smart phones, T-

   Mobile watches and other third party devices pre-loaded with GPS, WiFi, wireless network

   elements, and third party LBS applications. T-Mobile also charges a consumer/purchaser

   a fee per device for the installation of the LBS service.”).

111.       T-Mobile put the inventions claimed by the ‘196 Patent into service (i.e., used

   them); but for T-Mobile ’s actions, the claimed-inventions embodiments involving T-

   Mobile ’s products and services would never have been put into service. T-Mobile ’s acts

   complained of herein caused those claimed-invention embodiments as a whole to perform,

   and T-Mobile obtaining monetary and commercial benefit from it.

112.       Defendant has and continues to induce infringement from at least the filing date of

   the lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued

   T-Mobile on October 31, 2017. T-Mobile has actively encouraged or instructed others

   (e.g., its customers), and continues to do so, on how to use its products and services (e.g.,

   U.S. wireless networks, wireless-network components that use performance measurements

   to suggest corrective actions and controlling access to location information) such to cause



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   infringement claims 1-30 of the ‘196 patent, literally or under the doctrine of equivalents.

   Moreover, T-Mobile has known and should have known of the ‘196 patent, by at least by

   the date of the patent’s issuance, or from the issuance of the ‘284 patent, which followed

   the date that the patent’s underlying application was cited to T-Mobile by the U.S. Patent

   and Trademark Office during prosecution of one of T-Mobile ’s patent applications. More

   specifically, T-Mobile has known or should have known of the ‘196 patent since being

   sued previously by Traxcell on other family related patents and a reasonable company

   would monitor the family of patents. Further, specifically, Mark Jefferson Reed testified

   in a deposition taken by T-Mobile ’s lawyers that he had other family related patents.

113.       Defendant has and continues to contributorily infringe from at least the filing date

   of the lawsuit but reasonably from the issuance of the patent as it issued after Traxcell sued

   T-Mobile on October 31, 2017. T-Mobile has actively encouraged or instructed others

   (e.g., its customers, and/or the customers of their related companies), and continues to do

   so, on how to use its products and services e.g., U.S. wireless networks, wireless-network

   components (including network components) that use performance measurements to

   suggest corrective actions and controlling access to location information) such as to cause

   infringement of one or more of claims 1–30 of the ‘196 patent, literally or under the

   doctrine of equivalents.     Further, there are no substantial noninfringing uses for

   Defendant’s products and services. Moreover, T-Mobile has known and should have

   known of the ‘196 patent, by at least by the date of the patent’s issuance, or from the

   issuance of the ‘284 patent, which followed the date that the patent’s underlying application

   was cited to T-Mobile by the U.S. Patent and Trademark Office during prosecution of one

   of T-Mobile ’s patent applications. More specifically, T-Mobile has known or should have



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         known of the ‘196 patent since it was brought into defend a lawsuit brough by Traxcell

         against T-Mobile on other family related patents and a reasonable company would monitor

         the family of patents. Further, specifically, Mark Jefferson Reed testified in a deposition

         taken by T-Mobile ’s lawyers in the other litigation that he had other family related patents.



       VIII. PRAYER FOR RELIEF

WHEREFORE, Traxcell respectfully requests that this Court:

  i.     enter judgment that Defendants have infringed the Patents-in-Suit;

 ii.     award Traxcell damages in an amount sufficient to compensate it for Defendants’

         infringement of the Patents-in-Suit, in an amount no less than a reasonable royalty, together

         with prejudgment and post-judgment interest and costs under 35 U.S.C. § 284;

iii.     award Traxcell an accounting for acts of infringement not presented at trial and an award

         by the Court of additional damage for any such acts of infringement by Defendants;

 iv.     declare this case to be “exceptional” under 35 U.S.C. § 285 and award Traxcell its

         attorneys’ fees, expenses, and costs incurred in this action against each Defendant;

 v.      declare this case to be “exceptional” under 35 U.S.C. § 285 and award Traxcell its

         attorneys’ fees, expenses, and costs incurred in this action against each Defendant;

 vi.     a decree addressing future infringement that either (i) awards a permanent injunction

         enjoining Defendants’ and its agents, servants, employees, affiliates, divisions, and

         subsidiaries, and those in association with Defendants, from infringing the claims of the

         Patents-in-Suit or (ii) award damages for future infringement in lieu of an injunction, in an

         amount consistent with the fact that for future infringement the Defendants will be




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       adjudicated infringers of a valid patent, and trebles that amount in view of the fact that the

       future infringement will be willful as a matter of law;

vii.   award Traxcell such other and further relief as this Court deems just and proper.

                                        JURY DEMAND

       Traxcell hereby requests a trial by jury on issues so triable by right.

                                                      Respectfully submitted,

                                                      Ramey LLP

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